                               IN THE UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF ALABAMA
                                          NORTHERN DIVISION

 IN RE:                                                          CASE NO. 19-81017-CRJ-13
          John Thomas Lacik
          Lisa Elaine Lacik                                      CHAPTER 13
          SS#: : XXX-XX-9376 XXX-XX-1278
                         DEBTORS

                                 TRUSTEE'S OBJECTION TO CONFIRMATION

          COMES NOW, Michele T. Hatcher, Standing Chapter 13 Trustee, in the above captioned case and states
 the following:

          1.   The Plan does not comply with 11 U.S.C. § 1325(b)(1)(B) in that the Debtors are not proposing to pay
               all of their disposable income. The Debtors failed to report all sources of income on Schedule I,
               specifically deposits into their bank account . Further, the Debtors failed to accurately report their
               income and expenses from their interest in a business on Schedule I/J and Official Form 122-C .

          2.   The Debtors failed to provide the Trustee with complete corporate tax returns, bank statements, loan
               documents, profit and loss and an asset list for Floors to You, Inc . and Floor Coverings International.

          3.   The Debtors failed to accurately disclose and value all personal property on Schedule A/B, specifically
               their interest in businesses, business assets, personal loan to Floors to You, Inc ., stocks, and a 1988
               Bayliner 2850 Sunbridge Boat. Further, the Debtors failed to accurately report the percentage of
               ownership interest in the businesses on Schedule A/B . The Trustee is unable to calculate the amount
               of non-exempt equity and Plan payments necessary to pay the non-exempt equity until the schedules
               have been accurately amended.

          WHEREFORE, the Trustee prays that the Court deny confirmation of the Debtors' plan, and order the
 Debtors to file an amended plan within 14 days after this confirmation hearing . If the Debtors fail to file an
 amended plan within 14 days, the Trustee prays the Court enter an order dismissing this Chapter 13 case .

          RESPECTFULLY SUBMITTED, this the 16th day of May 2019 .

                                                                  /s/ Michele T. Hatcher
                                                                  MICHELE T. HATCHER, TRUSTEE
                                                                  P.O. BOX 2388
                                                                  DECATUR, AL 35602-2388
                                                                  (256)350-0442




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                                          CERTIFICATE OF SERVICE

 I hereby certify that on the 16th day of May 2019, I have served a copy of the foregoing on the parties listed below
 by depositing the same in the United States Mail, postage prepaid and properly addressed, or if the party being
 served is a registered participant in the CM/ECF System for the United States Bankruptcy Court for the Northern
 District of Alabama, service has been made by a "Notice of Electronic Filing" pursuant to FRBP 9036 in accordance
 with subparagraph II.B.4 of the Court's Administrative Procedures .

 John Thomas Lacik                                         DEZENBERG & SMITH PC
 Lisa Elaine Lacik                                         ATTORNEYS AT LAW
 13309 South Village Square Rd., SE                        908 C NORTH MEMORIAL PKWY
 Huntsville, AL 35803                                      HUNTSVILLE, AL 35801
                                                               /s/ Michele T. Hatcher
                                                               Michele T. Hatcher, Trustee




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